USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 1




                                                      United States District Court
                                                                  Western District of Kentucky
                                                                         LOUISVILLE DIVISION

UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
           V.                                                        (For Offenses Committed On or After November 1, 1987)
             Kyle Willett                                            Case Number: 3:16-CR-164-1-TBR
                                                                     US Marshal No: 18858-033
                                                                     Counsel for Defendant: Brian Butler, Retained
                                                                     Counsel for the United States: Bryan R. Calhoun
                                                                     Court Reporter: Alan W. Wernecke
THE DEFENDANT:
☒ Pursuant to a Rule 11(c)(1)(B) plea agreement

☒ Pleaded guilty to Count 1 of the Information on 12/21/2016, knowingly, willingly and voluntarily.

☐ Pleaded nolo contendere to count(s)
        which was accepted by the court.

☐ Was found guilty on count(s)
        after a plea of not guilty

ACCORDINGLY, the Court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                             Date Offense
                                   Title / Section and Nature of Offense                                                      Concluded     Count

       FOR CONVICTION OFFENSE(S) DETAIL - SEE COUNTS OF CONVICTION ON PAGE 2

     The defendant is sentenced as provided in pages 2 through 8 of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)

☐ Count(s)                                                            (Is) (are) dismissed on the motion of the United States.

      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the Court and the United States Attorney of any material change in the
defendant's economic circumstances.



 4/26/2017
Date of Imposition of Judgment




                                                                                                  May 1, 2017
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 1A

                                                                                                Judgment-Page 2 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                                                   COUNTS OF CONVICTION
                                                                                          Date Offense
                                    Title / Section and Nature of Offense                  Concluded       Count

18:659 - INTERSTATE OR FOREIGN SHIPMENT BY CARRIER                                           8/2016           1
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 2 - Imprisonment

                                                                                                                  Judgment-Page 3 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
FIVE (5) MONTHS as to Count 1 of the Information.

☒ The Court makes the following recommendations to the Bureau of Prisons: As close to his family as possible.

☐ The defendant is remanded to the custody of the United States Marshal.

☐ The defendant shall surrender to the United States Marshal for this district:

        ☐ at                            A.M. / P.M. on

        ☐ as notified by the United States Marshal.

☒ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        ☐ Before 2:00 p.m. on

        ☐ as notified by the United States Marshal.

        ☒ as notified by the Probation or Pretrial Services Office.

        ☐ The defendant shall continue under the terms and conditions of his/her present bond pending surrender to the institution.


                                                                                      RETURN
I have executed this judgment as follows:




             Defendant delivered on                                              To

at                                                   , with a certified copy of this judgment.

                                                                                                  UNITED STATES MARSHAL


                                                                                                 By
                                                                                                      Deputy U.S. Marshal
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 3 - Supervised Release

                                                                                                                     Judgment-Page 4 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 2 YEARS as to Count 1 of the
Information.


                                                                 MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
      future substance abuse.
4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer.
5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
      work, are a student, or were convicted of a qualifying offense.
6.    ☐ You must participate in an approved program for domestic violence.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 3A - Supervised Release

                                                                                                                                Judgment-Page 5 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                             STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
      imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
      must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
      the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements
      (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in
      advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
      change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
      you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
      officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
      or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
      the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
      notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
      have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 3B - Supervised Release

                                                                                                                    Judgment-Page 6 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                                SPECIAL CONDITIONS OF SUPERVISION


14) Defendant shall be placed on location monitoring, which include electronic monitoring for a period of FIVE (5) MONTHS,
commencing upon the direction of the Probation Office. Defendant shall pay all or part of the costs of electronic monitoring as
determined by probation, not to exceed the current daily rate. Certain financial restrictions are also imposed.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision, (2) extend the
term of supervision and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


      ___________________________________                                               _________________________
       Defendant                                                                        Date


      ___________________________________                                               _________________________
       U.S. Probation Officer/Designated Witness                                        Date
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 5 - Criminal Cometary Penalties

                                                                                                                                             Judgment-Page 7 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR
                                                       CRIMINAL MONETARY PENALTIES

        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Sheet 5, Part B.
                           Assessment                                                           Fine                              Restitution
             Totals: Cnt 1- $ 100.00

☒ The fine and the costs of incarceration and supervision are waived due to the defendant's inability to pay.

☐ The determination of restitution is deferred until                                            . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

☒ Restitution is not an issue in this case.

☐ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal
victims must be paid in full prior to the United States receiving payment.
                                                                                                          Priority Order
                                                   ** Total                   Amount of                   Or Percentage
Name of Payee                                  Amount of Loss             Restitution Ordered              Of Payment




☐ If applicable, restitution amount ordered pursuant to plea agreement. . . . . $

☐ The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day after the
        date of judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet 5, Part B may be Subject to penalties for
        default and delinquency pursuant to 18 U.S.C. 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

☐ The interest requirement is waived for the                                   ☐ Fine and/or             ☐ Restitution

☐ The interest requirement for the                              ☐ Fine and/or                   ☐ Restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994 but before April 23, 1996.
USDC KYWD 245B (Rev. 02/16) Judgment in a Criminal Case Sheet 6 - Schedule of Payments

                                                                                                                        Judgment-Page 8 of 8
DEFENDANT: Willett , Kyle
CASE NUMBER: 3:16-CR-164-1-TBR

                                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A       ☒ Lump sum payment of $ 100.00                                                   Due immediately, balance due
          ☐ not later than                     , or
          ☐ in accordance with C, D, or E below); or

B       ☐ Payment to begin immediately (may be combined with C, D, or E below); or

C       ☐ Payment in            (E.g. equal, weekly, monthly, quarterly) installments of $
                 Over a period of      (E.g. months or years) year(s) to commence (E.g., 30 or 60 days)
                 after                 The date of this judgment, or

D       ☐ Payment in            (E.g. equal, weekly, monthly, quarterly) installments of $
                 Over a period of      (E.g. months or years) year(s) to commence (E.g., 30 or 60 days)
                 after                 Release from imprisonment to a term of supervision; or

E       ☐ Special instructions regarding the payment of criminal monetary penalties:

                 Any balance of criminal monetary penalties owed upon incarceration shall be paid in quarterly installments of at least $25
                 based on earnings from an institution job and/or community resources (other than Federal Prison Industries), or quarterly
                 installments of at least $60 based on earnings from a job in Federal Prison Industries and/or community resources, during
                 the period of incarceration to commence upon arrival at the designated facility.

                 Upon commencement of the term of supervised release, the probation officer shall review your financial circumstances and
                 recommend a payment schedule on any outstanding balance for approval by the court. Within the first 60 days of release,
                 the probation officer shall submit a recommendation to the court for a payment schedule, for which the court shall retain
                 final approval.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the United States
District Court, Gene Snyder Courthouse, 601 West Broadway, Suite 106, Louisville, KY 40202, unless otherwise directed by the
Court, the Probation Officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several

    Defendant and Co-Defendant Names and Case Numbers including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

☐ The defendant shall pay the cost of prosecution.

☐ The defendant shall pay the following court cost(s):

☐ The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
